 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480]269-7077
     Fax: [480] 614-9414
 4   Email: kyle@kinneylaw.net
 5
     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                           Chapter 11
10
     Arlene Silver and                                Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,

12                               Debtors.

13      STIPULATION APPROVING ORDER GRANTING MOTION TO APPROVE
14                       SALE OF REAL PROPERTY

15            Debtors in Possession, Arlene Silver and Ronald J. Silver, and first position
16   lienholder Wells Fargo Bank, N.A. as certificate trustee for Gonzalo Residential Asset
17   Trust, through its loan servicer Ocwen Loan Servicing, LLC (“Lienholder”) through their
18   respective undersigned counsel, hereby stipulate to the entry of the proposed form of order
19   attached hereto as Exhibit “1” granting Debtors’ Motion to Approve Sale of Real Property
20   filed on May 9, 2018 at Docket Entry No. 115 (“Motion”).
21            Debtors Motion seeks approval of the sale of real property located at 7009 East
22   Acoma Drive Unit 1052, Scottsdale, Arizona 85254 (“Property”) pursuant to 11 U.S.C.
23   § 363(b), FRBP 2002 &6004 and Local Rule 6004-1. Lienholder is the only creditor with a
24   secured interest in the Property. Lienholder filed a limited objection to the Motion on May
25   July 24, 2018 to make sure that any order granting the Motion include certain language to
26   ensure, among other thanks, that Lienholder is paid in full through escrow (Docket Entry
27   No. 120). No other objections to the Motion were filed.
28
 1          Debtors and Lienholder hereby stipulate and agree that the proposed form of order
 2   attached hereto satisfies Lienholder’s limited objection and agree that the sale of the
 3   Property is in the best interest of the estate.
 4          Wherefore, Debtors and Lienholder hereby stipulate and agree to the entry of the
 5   form of order attached hereto.
 6          SO STIPULATED.
 7          RESPECTFULLY SUBMITTED this 7th day of August, 2018
 8
                                                  LAW OFFICES OF KYLE A. KINNEY, PLLC
 9
                                                  By:/s/ Kyle A. Kinney
10                                                       Kyle A. Kinney, Esq.
                                                         1717 N. 77th Street, Suite 6
11                                                       Scottsdale, AZ 85257
                                                         Attorney for Debtors
12
13                                                ALDRIDGE PITE, LLP

14
                                                  By:/s/ Janet M. Spears
15
                                                         Janet M. Spears, Esq.
16                                                       4375 Jutland Drive, Suite 200
                                                         P.O. Box 17933
17                                                       San Diego, CA 92177
18                                                       Attorney for Lienholder

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     This is to certify that the foregoing was
 1
     e-filed on this 7th day of August 2018, in
 2   the United States Bankruptcy Court,
     COPY of the foregoing served via
 3   electronicNotification that same date on:
 4
     Office of the U.S. Trustee
     230 North First Avenue, Suite 204                  Lori L. Winkelman
 5
     Phoenix, AZ 85003-1706                             Amelia B. Valenzuela
 6                                                      Quarles & Brady LLP
     RENEE SANDLER SHAMBLIN                             Renaissance One
 7                                                      Two North Central Avenue
     Office of the U. S. Trustee
 8   230 North First Avenue, Suite 204                  Phoenix, Arizona 85004-2391
     Phoenix, AZ 85003-1706                             lori.winkelman@quarles.com
 9                                                      amelia.valenzuela@quarles.com
     Kim Lepore                                         Attorneys for Capital One, NA as servicer
10
     klepore@wrightlegal.net                            For Greenpoint Mortgage Funding, Inc.
11   Jamin S. Neil (SBN 026655)
     jneil@wrightlegal.net                              Joseph J. Tirello, Jr., Esq.
12   WRIGHT, FINLAY & ZAK, LLP                          ZIEVE, BRODNAX & STEELE, LLP
     16427 N. Scottsdale Road, Suite 300                3550 North Central Avenue, Suite 625
13
     Scottsdale, Arizona 85254                          Phoenix, AZ 85012
14   Attorneys for Nissan                               E-mail: Jtirello@zbslaw.com
                                                        Attorneys for U.S. Bank National
15   ALDRIDGE PITE, LLP                                 Association,as Trustee for Lehman
16   ecfazb@aldridgepite.com                            Brothers Small BalanceCommercial
     4375 Jutland Drive, Suite 200                      Mortgage Pass-Through Certificates,
17   P.O. Box 17933                                     Series 2007-3
     San Diego, CA 92177-0933
18
     Attorneys for Ocwen Loan Servicing                 BALL, SANTIN &McLERAN, PLC
19                                                      James E. Shively
     SANFORD J. GERMAINE                                2999 N. 44th Street, Suite 500
20   sgermaine@germaine-law.com                         Phoenix, AZ 85018
21   4040 E Camelback Rd Ste. 110                       Attorney for Lienholder
     Phoenix, AZ 85018                                  Nationstar Mortgage, LLC, as servicer for
22   Attorney for Creditor Lee & Associates             Lehman XS Trust Mortgage Pass-
                                                        Through Certificates, Series 2007-15N,
23                                                      U.S. Bank National Association, as
24                                                      Trustee

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26
27   By:/s/ Paula D. Hillock

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EXHIBIT 1
 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480]269-7077
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     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                             Chapter 11
10
     Arlene Silver and                                  Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,
                                                        ORDER GRANTING MOTION TO
12                               Debtors.               APPROVE SALE OF REAL
                                                        PROPERTY
13
14            The Court having received Debtors in Possession, Arlene Silver and Ronald J.
15   Silver, Motion to Approve Sale of Real Property located at 7009 East Acoma Drive Unit
16   1052, Scottsdale, Arizona 85254 (“Property”) pursuant to 11 U.S.C. § 363(b), FRBP 2002
17   &6004 and Local Rule 6004-1 (“Motion”), and with one limited objection having been filed
18   by lien holder Wells Fargo Bank, N.A. as certificate trustee for Gonzalo Residential Asset
19   Trust (“Lienholder”), through its loan servicer Ocwen Loan Servicing, LLC, within the 21
20   day period and with proper notice and service haven been made pursuant to Rule 2002 of
21   Federal Rules of Bankruptcy Procedure, and Local Rule 9013-1(k)(1); and with such
22   limited objection having been resolved by way of stipulation of the parties;
23            IT IS HEREBY ORDERED authorizing Debtors to sell the Property pursuant to the
24   terms as set-forth in the proposed purchase contract attached to the Motion;
25            IT IS FURTHER ORDERED that Lienholder shall be paid in full at the close of
26   escrow subject to a payoff quote obtained at the time of closing;
27            IT IS FURTHER ORDERED that Debtors shall contact Lienholder and/or its
28   counsel of record prior to the closing of the sale to obtain an updated payoff quote for the
 1   Subject Loan. Lienholder may require such updated payoff demand prior to the close of
 2   escrow to ensure Lienholder’s claim is paid in full;
 3              IT IS FURTHER ORDERED that Lienholder’s claim shall not be surcharged in any
 4   way with the costs of the sale, broker commissions, attorneys’ fees or any other
 5   administrative claims, costs or expenses in connection with the sale of the Property;
 6              IT IS FURTHER ORDERED that if the sale of the Property is not completed or
 7   funds are not received by Lienholder to satisfy the subject loan in full after closing,
 8   Lienholder shall retain its lien for the full amount due under the subject promissory note;
 9              IT IS FURTHER ORDERED that to the extent Debtors dispute any amounts which
10   Lienholder claims are owed on the subject loan, that the undisputed amount of the
11   Lienholder’s claim will be paid at the close of the sale and for the disputed amount of
12   Lienholder’s claim to be segregated in an interest bearing account with an additional
13   $10,000 in sale proceeds pending further Order of this Court to allow for Lienholder and/or
14   Debtors’ potential recovery of any of its reasonable attorney’s fees and costs incurred in
15   successfully prevailing upon such dispute;
16              IT IS FURTHER ORDERED that if Debtors fail to close escrow and payoff the
17   subject loan in accordance with this Order within ninety (90) calendar days of entry of this
18   Order, Debtors shall file and notice a motion with this Court requesting an extension to
19   complete the sale;
20              IT IS FURTHER ORDERED that in the event Debtors complete the sale of the
21   Property prior to confirmation of the Chapter 11 Plan, the Plan and/or Confirmation Order
22   shall be amended to reflect the sale of the Property and payment of Creditor’s secured claim
23   in full;
24   ///
25   ///
26   ///
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28   ///

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 1         IT IS FURTHER ORDERED that, except for liens, costs and commissions to be paid
 2   through escrow as stated in the purchase contract and above, that Debtors shall retain all
 3   proceeds received from the sale and shall not make any disbursements unless expressly
 4   authorized by this Court or within the ordinary course of business.
 5
 6                                            SIGNED AND DATED ABOVE

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